
STOKER, Judge.
For the reasons contained in Estate of Elsie C. King, et al. v. Aetna Casualty &amp; Surety Co., et al., 427 So.2d 902 (La.App. 3rd Cir.1983), docket number 82-454, in which we render a separate opinion this date, the judgment in this case in favor of plaintiff, Audrey King Vidrine, against James Pierce and the Louisiana Department of Transportation and Development is affirmed.
We reverse the judgment in favor of Eddie R. Johns and against the Louisiana Department of Transportation and Development on the latter’s third party demand. Judgment is hereby granted in favor of the Louisiana Department of Transportation and Development and against Eddie R. Johns on its third party demand for contribution to the extent of his virile share Qh) of the judgment rendered herein.
The judgment in favor of the Louisiana Department of Transportation and Development on its third party demand against James Pierce for contribution is amended to reduce the virile share of James Pierce for the judgment against him to one-third (Vs).
In all other respects, the judgment of the trial court is affirmed. The costs of this appeal are assessed one-half to the Louisiana Department of Transportation and Development and one-half to Eddie R. Johns and Aetna Casualty &amp; Surety Co., in solido.
AFFIRMED IN PART, REVERSED IN PART, AMENDED AND RENDERED AS AMENDED.
